Case 1:20-cv-02846-RPK-LB Document 1 Filed 06/25/20 Page 1 of 14 PageID #: 1


                                                                    Seen by the Pro Se office 6/25/2020-KC


 MINGGUO CHO,(Pro Se)
 Residence & P.O. Address
 11 -29 30th Drive                                                    20-CV-2846
 Astoria, NY 11102                                                    KOVNER, J.
 Tel: (917) 406-9270                                                  BLOOM, M.J

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK


 MINGGUO CHO,                                                 Docket No.

                      Plaintiff,                              COMPLAINT


                                                              Plaintiff Demands
                                                              a Trial by Jury
DONALD J. TRUMP and THE UNITED
STATES OF AMERICA.

                      Defendants.




       Plaintiff, MIngguo Cho, acting in a pro se capacity, as and for his complaint,
alleges as follows:

                              PARTIES AND JURISDICTION

       1.    Plaintiff resides at 11-29 SOth" Drive, First Floor, Astoria, NY 11102.

      2.     Defendants, Donald J. Trump, the President of the United States of

America, and the United States of America, (1600 Pennsylvania Avenue N.W.,

Washington, D.C. 20500) are entities against whom, and which claims may be
brought, for deprivation of one's civil rights including, but not limited to, plaintiff's
claim that he has been deprived of constitutional rights under the First Amendment

including his right to freedom of speech.

      3.     Jurisdiction is claimed (1) under the 14th Amendment to the United
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States Constitution and Title 42, Chapter 21, Subchapter I, Section 1983 upon the
ground that every person who, under color of any statute, ordinance, regulation,
custom, or usage, of any State or Territory . .. subjects ... any citizen of the United
States to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws, shall be liable to the party injured in an action at law and (2)
under 28 U.S.C. §1332 on the ground of diversity of citizenship, plus the amount in
controversy being more than the threshhold.
                            PLAIMTIFF'S BACKGROUND


       4.    Although plaintiff has a formal educational background in engineering,
plaintiff has extended his expertise and knowledge into the area of "Ql-Kong' (energy
function) which has enabled him to discover a "life energy system" contained in the
bodies of all human beings. The life energy system and its workings have not
previously been mentioned in Western medical publications dealing with anatomy. But
the life energy function is well-known and publicized in Far Eastern medical books
(especially Chinese) and has been used to identify the etiology and treatment of
virtually all diseases.

       5.     As a result of plaintiff's aforesaid discovery, plaintiff has been able to
 identify, treat and cure many diseases which are commonly labelled at the present
time as being "incurable" including, but not limited to, LUPUS, AIDS and COVID-19.
       6.     Plaintiff's expertise especially in the field of AIDS is documented in a
 book authored by him about 20 years ago, but the book remains unpublished by
 reason of a conspiracy to deny authors and health providers not formally educated as
 medical doctors the opportunity to have their works published - if the subject matter
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relates to cures for diseases. The conspiracy has denied plaintiff who is a citizen of
the United States, his rights, privileges, and immunities as guaranteed by the United
States and New York State Constitutions and laws.

      7.     Plaintiff also attempted to share his vast knowledge through the creation
of a medical website, www.mingguo.com, wherein the public was invited to mail-in
copies of their medical charts and treatment history for further evaluation whereupon
a suggested cure would be transmitted to them. The website effort at making
plaintiff's vast knowledge accessible to the public was undertaken for the benefit of
the human race, but the general public is not benefitting from plaintiff's efforts to cure
diseases based upon both "Ql-Kong" (energy function) and a combination of
traditional Chinese herbs because of a vast institutionalized conspiracy to slander
 health providers who do not have medical degrees. The conspiracy and both actions
 and omissions by defendants and their servants, agents and employees have denied
 plaintiff, who is a citizen of the United States, his rights, privileges, and immunities
 as guaranteed by the United States and New York State Constitutions and laws
 including, but not limited to, the right to free speech.
       8.     The institutionalized denigration is exemplified by plaintiff's efforts to
 offer cures for illnesses with all such efforts being rejected by these defendants and
 all federal and state governments. For the most part, there is a conspiratorial failure
 to even acknowledge plaintiff's efforts based upon a prejudicial thinking that any
 cures for diseases offered by nonmedical personnel are not worthy of consideration.
        9.    The institutionalized denigration is also exemplified by plaintiff's
 commendable efforts in offering cures for specified diseases to hospitals, medical
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schools and medical professionals. But again, ali efforts by plaintiff are rejected either
outright or through the simple expedient of faiiing to answer or act on his cure offers.
The conspiracy of the defendants in association with other individuals and entities has
denied plaintiff, who is a citizen of the United States, his rights, privileges, and
immunities as guaranteed by the United States and New York State Constitutions and
laws.

        10. Many recipients of plaintiffs offers for cures do not even bother to read
 plaintiffs essays or book drafts although, if they had, they would reach the
 conclusion set forth in Chinese medicai books to the effect that "there is no incurable
 disease, only diseases which are too late to cure" - such as Altzheimers disease,
 C3ncer and multiple sclerosis.
        11. This institutionalized prejudice and denigration against health providers
 lacking medical degrees is encouraged and promoted by the government of the United
 States as well as its agencies and the President as part of a vast conspiracy with drug
 companies, medical doctors, hospitals and others. All of these entities attempt to
 persuade the general public to view nonmedical health providers as -crazies ,
 "quacks" or charlatans so that their domination and unlawful monopolistic practices
  in the health field area are not endangered or jeopardized.
        12. The effect of this conspiracy is to deny both the general public and
  United States citizens the option to choose 4,000 year-old, proven remedies inspired
  by Chinese medicines as weil as the cures inherent in the "life energy system" created
   by plaintiff.

          13. The benefits to be derived by the general public and United States
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citizens if traditional Chinese medicines and the "life energy system" were made

available are enormous including among other things, (a) cures for diseases which

were previously thought to be incurable,(b)substantially reduced medical and hospital
provider costs, (c) substantially reduced costs for medical insurance and (d) actual
cures being effected for many diseases in remarkably short periods of time.
      14.    Plaintiff has personally counselled many persons of ill health toward the

benefits of traditional Chinese medicines and the "life energy system" with remarkable

results including the total cure of LUPUS patients. Plaintiff has 40+ years' experience

in the field of traditional Chinese medicine and actually developed his life energy

system about 30 years ago but the conspiracy fostered, engenderd and promoted by
defendants has prevented him from sharing his discoveries with the general public so

that millions of persons could benefit therefrom.

      15.     Because of the unlawful monopoly granted either outright or de facto by

defendants, their subdivisions, agents and employees to licensed health and/or

medical professionals and others similarly situated and other discriminatory policies,
plaintiff is thereby denied his constitutional right to speak out, present and even
advertise his revolutionary discovery which would protect the lives of millions of

people. The conspiracy of defendants in association with other individuals and
entities has denied plaintiff, who is a citizen of the United States, his rights, privileges,

and immunities as guaranteed by the United States and New York State Constitutions

and laws.


       16.    With respectto the unlawful actions and omissions attributable to Donald

J. Trump who conspired with all of the aforementioned governmental agencies, health
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providers, drug companies, etc. in an effort to deprive plaintiff of his rights, they were
undertaken by Donald J. Trump as President of the United States.
                                       COVID-19


       17.    The COViD-19 pandemic has reaked havoc throughout the world in all
aspects of life. The number of infections continues to rise, hospitals and health care
facilities are overwhelmed, business are shuttered, people are wearing protective gear
such as masks, head coverings, and gloves, families are isolated in their homes, and
deaths are rising. Infected people cannot get medicine and admission to hospitals is
being severely restricted. Billions of dollars have been and will be spent in attempts
to discover a cure. The matter is extremely urgent if society and governments wish
to bring normality back to the world.
       18.    The solution to the pandemic - which complainant is offering to the world
without seeking patent protection - is garlic. This herb is grown in all parts of the
world, is readily available and is already known to help cure diseases especially in the
blood system where COVID-19 attacks. But the U.S. Food & Drug Administration is
suppressing this wonder drug for COVID-19 by falsely cautioning the public not to
look for miracles to cure COVID-19 in the short run. As a result, the public has
ignored plaintiff's advertising of this cure (at a cost of $10,000) in newspapers and
 on the internet.

        19.    Plaintiff has discovered a cure which is 100% effective against the

 treacherous COVID-19 disease. That cure is garlic soup. Moreover, with proper

 treatment, a cure can be accomplished within 3-4 days at a cost of $10 or less.

        20.   The basic formula is as follows:
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             a)    Take one piece of garlic (10 flats) and then slice
                   each flat into 5 pieces each for a total of 50 slices;


             b)     put the slices into a coffee cup with water and
                   then microwave for one minute;

             c)    drink the contents of the cup all at once.
                   (if the patient believes the solution is too
                    spicy, a teaspoon of sugar may be added).

      21.    In the event of coughing, the formula is as follows:

             a)     take 6 pieces of the existing Chinese herbal
                    medicine, garcinia, 4 times per day. (One
                    day should be sufficient for cure) An alternate
                    to garcinia is andrographis paniculata.

             b)     if there is "stiffness", head, neck and/or back ache,
                    tylenol can be taken, 650 mg every 12 hours.

       22.   In the event of serious consequences such as lung damage, a general
formula for relief and probable cure would be 120mg of Biota tops, 160mg honey
suckle, 80mg subprostrate sophora root, 80mg of cotoneastler vegetable root, 20mg
of horsebezoar, and 80mg forsythia fruit placed into a large pot, add 10 cups of
water, cook until boiled, then reduce the flame for 50 minutes. There will be 3 cups
of the soup remaining and a person should drink one cup every 8 years for one day.
The same soup and dosage should be repeated from 3 to 12 days as necessary.
       WHEREFORE, plaintiff demands judgment against both defendants for (1) $10
 million in damages, plus (2) One billion ($1,000,000,000) dollars in punitive damages,
 plus (3) an award of the costs and disbursements of this action. In addition, plaintiff
 demands a mandatory injunction that all persons in the United States and throughout
the world be compelled to ingest garlic soup to stop the COVID-19 spread, that
 doctors, health personnel, medical school personnel, and pharmaceutical companies
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be required to learn and teach the benefits of garlic soup. In addition, plaintiff

demands a restructuring of the entire medical system in the United States to enjoin

federal, state and local governments from preventing non-licensed persons from

publicizing, offering and administering their proven cures to the public.

Dated:       New York, New York
             June 26, 2020




                                               MIN6SII0 CHO, {Pro Be)


                               Certification and Closing


      Under Federal Rules of Civil Procedure 11, by signing below, I certify to the
best of my knowledge,information and belief that this complaint: (1) is not presented
for an improper purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; {2) is supported by existing law or by a nonfrivolous
argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically, so identified, will likely have
evidentiary support after a reasonable opportunity for further investgation or
discovery; and (4)the complaint otherwise complies with the requirements of Rule 11.

       I agree to provide the Clerk's Office with any changes to my address where
case-related papers may be served. I understand that my failure to keep a current
address on file with the Clerk's Office may result in a dismissal of my case.

Date of Signing: June 26, 2020


                                        (SignatKlfe^f Plaintiff)

                                         MINGGUO CHO
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                        Docket No.
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK
                                                                        V*




                        MINGGUO CHO,

                                                     Plaintiff,


                                 -V-




                       DONALD J. TRUMP and THE UNITED
                       STATES OF AMERICA,

                                                     Defendants.




                             SUMMONS AND COMPLAINT




                         MINGGUO CHO,(Pro Se)
                          Residence & P.O. Address
                               11-29 30th Drive
                             Astoria, NY 11102
                             Tel:(917) 406-9270
              Case 1:20-cv-02846-RPK-LB Document 1 Filed 06/25/20 Page 10 of 14 PageID #: 10
JS44 (Rev.02/19)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither rmlace nor supplement the filing and service of pleadings or other papers as rrauired by law, except as
provided by local rules ofcourL This form,approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk ofCourt for the
purpose of initiating the civil docket sheet. (SEEINSTRUCTIONS ON NEXTPAGE OF THISFORM.)
I.(a) PLAINTIFFS                                                                                         DEFENDANTS
MINGGUO CHO ^                                                                                          DONALD J. TRUMP and UNITED STATES OF AMERICA


   (b) County ofResidence of First Listed Plaintiff               Queens                                 County of Residence of First Listed Defendant
                                (EXCEPTIN U.S. PUINTIFF CASES)                                                                             (IN US.PUINTIFF CASES ONLT)
                                                                                                         NOTE:       IN LAND CONDEMNATION CASES.USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.


   (c) Attorneys(Fim Name. Addrea.and Telephone Number)                                                   Attorneys(1/Known)




n. BASIS OF JURISDICTION (Place an "X"in OneBox Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES fP/nce an 'X"inOneBoxJorPlainliff
                                                                                                     (For Diversity Cases Oniy)                                                  and One Boxfor Defendant)
       U.S. Govemment                □ } Fedetnl (Juestion                                                                        RTF           DEF                                               PTF      DEF
         PlainrilT                         ((/.5. Govemmeitl Nat a Party)                       Citizen of This State                  1        O 1 Incorporated or Principal Place                □ 4     0 4
                                                                                                                                                             of Business In This State

^2     U.S. Govemment                O 4 Diversity                                              Citizen of Another State        O 2             0    2     Incoipomted and Principal Place         OS      OS
          Defendant                        (Indicate Citizenship ofParties in Item III)                                                                      of Business In Another State

                                                                                                Citizen or Subject of a         □ 3             0 3        Foreign Nation                          O 6     O 6
                                                                                                  Foreign Country

IV. NATURE OF SUIT (Piace an "X" in One Bta Oniy)
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   110 Iiisuiance                      PERSONAL INIURY                PERSONAL INJURY           □ 625 Dnig Related Seizure             □ 422 Appeal 28 use 158                   □ 375 False Gait e Act
   120 Marine                       □ 310 Aiiplanc                 □ 365 Personal Injury •            of Property 21 USC83I            □ 423 Withdrawal                          □ 376QuiTam(31 use
   130Mi;:«tAct                     □ 315 Airplane Product               Product Liability      □ 690 Other                                  28 use 157                                3729(a))
   1401'rgotiable Insoument               Liability                □ 367 Health Care/                                                                                            □ 400 Stale Reappoitionment
   150 Recovery of Overpayment □ 320 Assault, Lt'bel&                    Pharmaceutical                                                ritPROPERT.YqiIGHTS'e                     □ 410 Antitrust
       St Enforcement of Judgment       Slander                          Personal htjury                                               □ 820 Copyrights                          □ 430 Banks and Banking
   ISt Medicare Act               □ 330 Federal Employers'               Product Li^ility                                              □ 830 Patent                              □ 450 Commerce
   152 Recovery of Defaulted            Liability                  a 368 Asbestos Personal                                             O 840 Tiailematk                          O 460 Deportation
       Student Loans                □ 340 Marine                          Injury Product                                                                                         □ 470 Racketeer Influenced and
       (Excludes Veterans)          O 345 Marine Product                  Liability                          LABORS                         SOCIALSEGDRITV:                              Conupt Organizations
   153 Recovery of Overpayment             Liability                PERSONAL PROPERTY □ 7t0 Fair Labor Standards                       □ 861 HlA(l395in                          □ 480 Consumer Credit
       of Veteran's Beneftts        □ 350 Motor Vehicle            □ 370 Other Fraud        Act                                        □ 862 Black Lung (923)                    □ 490 Cable/Sat TV
   160 Stockholders* Suits          □ 355 Motor Vehicle            O 371 Truth in Lending       □ 720 Labor/Management                 O 863 DIWODIWW (40S(g))                   □ 850 Securilics/Cofflnmdities/
   190 Other Contract                     Product Liability        □ 380 Other Personal                 Relatioits                     □ 864SSIDrtUeXVI                                 Exchange
   195 Contract Product Liability   □ 360 Oilier Personal               Property Damage         □ 740 Railway Labor Act                □ 865 RSI (405(g))                        Qt 890 Other Statutory Actions
   196 Franchise                          Injury                   □ 385 Property Damage        □ 751 Family and Medical                                                         □ 891 Agiicultnml Acts
                                    □ 362 Personal Injury •              Product Liability              Leave Act                                                                □ 893 Environmental Matters
                                           McdialMal^^w                                         □ 790 Other Labor Litigation                                                     □ 895 Freedom of Information
   -t^REAKEROPERTYPiH'S.t! ed»gCaVIIIIRIGHTSdtgZ-g ■ iPRISONERPETlTIONSy                        □ 791 Employee Retirement              4 - FEDERALTAX SOITSi^                            Act

□ 210 Land Condemnation             □ 440 Other Gvil Rights           Habeas Corpus:                  Income Security Act              □ 870 Taxes (U.S. Plaintiff               □ 896 Aibitration
□ 220 Foreclosure                   O 441 Voting                   □ 463 Alien Detainee                                                             or Defendant)                □ 899 Administrative Pioccduic
□ 230 Rent Lease A Ejectment        □ 442 Employment               □ 510 Motions to Vacate                                             □ 871 IRS—Third Party                             Act/Review or Appeal of
□ 240 Torts to Land                 □ 443 Housing/                       Sentence                                                                   26 use 7609                          Agency Decision
□ 245 Tort Fioduct Liability              Accommodations           □ 530 General                                                                                                 □ 9:0 Constitutionality of
□ 290 All Other Real Property       □ 445 Amer. w/Disabilities' □ 535 Death Penally                                                                                                      Stale Statutes
                                           Employment                 Other:                    □ 462 Naturalization Application
                                    □ 446 Amer. w/Disabilities' n 540 Mandamus & Other          □ 465 Other Immigration
                                          Other                 □ 550 Civil Rights                      Actions
                                    O 448 Education             □ 555 Prison Condition
                                                                □ 560 Civil Detainee-
                                                                      Conditions of
                                                                          Confmement

 V• ORIGIN (Place tin "X" in One Box Oniy)
   1 Ortginal    O 2 Retnoveil from                     □ 3        Remandtxl from           □ 4 Reinstated or        □ S Transferred from                  O 6 Multidistrict
     Proceeding         State Court                                Appellate Court              Reopened                 Another District                           Litigation
                                                                                                                           (specift)

                                                                                           ^        (Da not dteJurisdictional statttfes unless dlversl^):
 VI. CAUSE OF ACTION
                                         ^nspira^°to°^ai!^citizens their Constitutional Rights
 VH. REQUESTED IN                       O CHECK IF THIS IS A CLASS ACTION                          DEMANDS                                               CHECK YES only if demanded in complaint:
        COMPLAINT:                            UNDER RULE 23, FJLCv.P.                                                                                    JURY DEM/kND:                ^ Yes        □ No
 Vra. RELATED CASE(S)
         IF ANY                             (See instructions):                nopg                                                         DOCKET NUMBER

 DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
 06/25/2020
 FOR OFFICE USE ONLY

    RECEIPT#                     AMOUNT                                   APPLYING IFP                                    JUDGE                                     MAG. JUDGE
        Case 1:20-cv-02846-RPK-LB Document
                          CERTIFICATION OF 1 Filed 06/25/20
                                           ARBITRATION       Page 11 of 14 PageID #: 11
                                                          ELIGIBILITY
Local ArbitTStlon Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of£150,000,
exclusive ofinterest and costs,are eligible for compulsory arbitration. The amount ofdamages is presumed to be below the threshold amoimt unless a
certification to the contrary is filed.

Case is Eligible for Arbitration □
1,                                                         , counsel for                                        , do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason

                                 DISCLOSURE STATEMENT ■ FEDERAL RULES CIVIL PROCEDURE 7.1

                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks;




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please tist all cases that are arguably related pursuant to Division of Business Rule 50.3.1 In Section VIII on the front of this form. Rule 90.3.1 (a) provides that *A civil case is 'reialed*
to anottier cMi case for purposes of tNs guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to tfte same Judge and magistrate judge.' Rule 50.3.1 (b) provides Utat * A dvil case shall not be
deemed 'related* to another dvil case merely because the dvD case: (A) Involves identical legal Issues, or (B) involves the same parties.' Rule 50.3.1 (c) furttier provides that
"Presumplively. and subject to the power of a judge to determine otherr^e pursuant to paragraph (d), dvil cases shall not be deemed to be 'related* unless both cases are stiD
pending before the court.'

                                                           NY-E DIVISION OF BUSINESS RULE 50.1(dU2)



1.)         Is the civil action being fiied in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                    □ Yes                    El         No
2.)         if you answered 'no" above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur In Nassau or Suffolk
            County?                    Q Yes                    ^ No
            b) Did the events or omissions givira rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?                  □ Yes                   □ No
            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:

If your answer to question 2 (b) is "No," does the defendant {or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in^ interpleader ^on, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County?      n Yes           Tl No
            (Note: A corporation shall he considered a resident of die County In wNch It has the most signidcant contacts).
                                                                                        BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
                                         □                   Yes                                               □          No
            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
                                         □                   Yes {If yes, please explain                       □          No



            I ceitify the accuracy of all Information provided above.

            Signature:
                                                                                                                                                                       Last MoSficd: 1107/2017
   Case 1:20-cv-02846-RPK-LB Document 1 Filed 06/25/20 Page 12 of 14 PageID #: 12


AO 440(Rev.06/12) Summons in a Civil Action


                                    United States District Court
                                                               for the

                                                   Eastern District of New York


                        Mingguo Cho




                          Plaintiff(s)
                               V.                                        Civil Action No.
    Donald J. Trump and United States of America




                         D^f.ndanl(s)


                                                SUMMONS IN A CIVIL ACTION

To- (Defendant's name and address)            'J- Trump, 1600 Pennsylvania Avenue, Washington, D.C.20500
                                     United States of America, do Civil Process Clerk, Office of the U.S. Attorney, Eastern
                                     District of New York, 225 Cadman Plaza East, Brooklyn, NY 11201




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you(not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules ofCivil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

                                     Mingguo Cho
                                     11-29 30th Drive, First Floor
                                     Astoria, NY 11102



         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            DOUGLAS C.PALMER
                                                                            CLERK OF COURT



Date:
                                                                                      Signature ofClerk or Deputy Clerk
    Case 1:20-cv-02846-RPK-LB Document 1 Filed 06/25/20 Page 13 of 14 PageID #: 13

AO 440(Rev.06/12) Summons in a Civil Action(Page 2)

 Civil Action No.


                                                        PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed. R. Civ. P. 4(I))

          This summons for (name ofindividual and title, ifany)
was received by me on (date)

          G I personally served the summons on the individual at(place)
                                                                             on (date)                             ; or

          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                              , a person of suitable age and discretion who resides there,
          on (date)                            , and mailed a copy to the individual's last known address; or

          □ Iserved the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                             on (date)                             ; or


          □ Ireturned the sununons unexecuted because                                                                            ; or

          □           (specify):




          My fees are $                         for travel and $                  for services, for a total of $          o.OO


         Ideclare under penalty of peijury that this information is true.


Date:
                                                                                         Server's signature



                                                                                     Printed name and titie




                                                                                         Server's address


 Additional information regarding attempted service, etc:
1:20-cv-02846-RPK-LB Document 1 Filed 06/25/20 Page 14 of 14 PageID




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